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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA                )
                                        )
v.                                      )     CASE NOS: 4:19-CR-67
                                        )               4:20-CR-27
GHALEB ALAUMARY                         )


                                       ORDER

      Pending before the Court is the United States’ Motion to Unseal the above-

captioned cases.

      Having considered the Motion, and for good cause therein, the United States’

Motion is GRANTED.         The charging documents and plea agreement shall be

unsealed. All other documents that have been ordered sealed in the above-captioned

cases shall not be unsealed until further order of this Court.

      So ORDERED this ________ day of May, 2020.




                                        ______________________________________
                                        HON. CHRISTOPHER L. RAY
                                        U.S. MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA
